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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Lee Ann Pleva and Michael Pleva,                    Civil No. 22-cv-1876 (JRT/LIB)

                     Plaintiffs,

v.                                                 ORDER ON JOINT STIPULATION
                                                    FOR EXTENSION OF TIME TO
USAA Federal Savings Bank,                           RESPOND TO COMPLAINT

                     Defendant.

       On August 9, 2022, the parties filed a Joint Stipulation for Extension of Time to Respond

to Complaint [Docket No. 5]. Based upon review of the files and for good cause shown, IT IS

HEREBY ORDERED that:

       1. The parties’ Joint Stipulation for Extension of Time to Respond to Complaint [Docket

          No. 5] is APPROVED; and

       2. Defendant USAA Federal Savings Bank shall answer or otherwise respond to

          Plaintiff’s Complaint by September 16, 2022.



 Dated: August 9, 2022                         s/Leo I. Brisbois
                                               Hon. Leo I. Brisbois
                                               U.S. MAGISTRATE JUDGE
